                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                          1:21-CR-72-MR-WCM

UNITED STATES OF AMERICA

    v.                                                ORDER

JOSEPH DANIEL PERRY



         This matter is before the court on the Motion to be Excused from Court

Appearance (Doc. 33), through which defense counsel Andrew Brooks requests

to be excused from Defendant’s Rule 11 hearing which has been set for

December 6, 2021.

         In support of the Motion, Mr. Brooks states that he is local counsel for

Defendant, that either Murdoch Walker, II, Esq. or Katryna L. Spearman, Esq.

will be in attendance with Defendant at his plea hearing, and that Mr. Brooks

has a previously scheduled matter in state superior court on the same day.

Below Mr. Brooks’ signature block on the Motion is the reference “Local

Criminal Rule 57.1(d) Counsel for Defendant.”

         Mr. Brooks has been advised previously that “the local rules of this

district do not include a local criminal rule 57.1.” Doc. 25 at 1. Further, as the

undersigned has explained, “Mr. Brooks has entered a general appearance for

Defendant and is representing Defendant for all purposes.” Id. at 2. In other




     Case 1:21-cr-00072-MR-WCM Document 34 Filed 11/10/21 Page 1 of 2
words, Mr. Brooks is counsel of record for Defendant for all purposes,

regardless of whether additional counsel have appeared for Defendant.

      As for Mr. Walker and Ms. Spearman, they have been granted

permission to appear pro hac vice for Defendant in this matter “while

associated with local counsel,” that is, with Mr. Brooks. See Doc. 25 at 2. As

the undersigned has also noted previously, the Local Rules require that any

attorney who is admitted to practice pro hac vice be accompanied by local

counsel at all hearings unless otherwise permitted by the Court. See Id. at 1-

2, citing LCvR. 83.1 (b) (1); LCrR. 44.1.

      Particularly given the uncertainties regarding the status of defense

counsel that the court has addressed previously in this matter, the

undersigned concludes that Mr. Brooks should be required to appear at

Defendant’s Rule 11 hearing, regardless of whether Mr. Walker or Ms.

Spearman also appear.

      Accordingly, the Motion to be Excused from Court Appearance (Doc. 33)

is DENIED. Mr. Brooks is also ADVISED that he should be prepared to

participate in the plea colloquy when the court considers Defendant’s proposed

guilty plea.

      It is so ordered.

                                 Signed: November 10, 2021




     Case 1:21-cr-00072-MR-WCM Document 34 Filed 11/10/21 Page 2 of 2
